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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


DATA PROTECTION SERVICES, LLC,

                       Plaintiff,

v.                                                              Case No: 6:19-cv-978-Orl-41LRH

TEFINCOM S.A. and COLLECTIVE 7,
INC.,

                       Defendants.
                                              /

                                              ORDER

       THIS CAUSE is before the Court upon sua sponte review. Plaintiff filed this case on May

24, 2019, (Compl., Doc. 1), and then promptly filed an Amended Complaint (Doc. 6). The

Amended Complaint improperly alleged subject matter jurisdiction pursuant to 28 U.S.C. § 1332

by insufficiently alleging the citizenship of Plaintiff, a limited liability company, and of Defendant,

a Panamanian corporation. Subsequently, this Court issued an Order to Show Cause as to why this

case should not be dismissed for failure to adequately allege subject matter jurisdiction. (See

generally May 31, 2019 Order, Doc. 10).

       Plaintiff timely filed a Response (Doc. 11) and a Motion for Leave to File Second Amended

Complaint (Doc. 12). The Court granted the Motion despite noting that the Proposed Amended

Complaint (Doc. 12-1) still had not adequately alleged jurisdiction. (See also June 6, 2019 Order,

Doc. 17, at 1; Proposed Am. Compl., Doc. 12-1, ¶ 7 (failing to adequately allege citizenship of

Plaintiff’s sole member and stating “TorGuard’s sole member, Benjamin Van Pelt, is a resident of

Seminole County, Florida, and a citizen of the United States of America.”)). The Order further

warned that failure to adequately allege jurisdiction “shall result in the dismissal of this case




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without further notice.” (Doc. 17 at 2). “Citizenship, not residence, is the key fact that must be

alleged . . . to establish diversity for a natural person.” Taylor v. Appleton, 30 F.3d 1365, 1367

(11th Cir. 1994). “Citizenship is equivalent to ‘domicile’ for purposes of diversity jurisdiction.”

McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002).

       Plaintiff filed the Second Amended Complaint and, despite the Court’s warning, did not

change the allegations regarding its citizenship from those in the Proposed Amended Complaint.

(See generally Second Am. Compl., Doc. 18). For purposes of subject matter jurisdiction in this

case, the question is not in which country Plaintiff’s sole member has citizenship status, but in

which state. Plaintiff has again failed to adequately allege subject matter jurisdiction pursuant to

28 U.S.C. § 1332. Accordingly, it is ORDERED and ADJUDGED that the case is DISMISSED

without prejudice. The Clerk is directed to close this case.

       DONE and ORDERED in Orlando, Florida on June 19, 2019.




Copies furnished to:

Counsel of Record




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